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 8                        UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA

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11    DONSHEA LAVON RAMSOM,                             Case No. 1:24-cv-00662-BAM (PC)
12                       Plaintiff,                     ORDER GRANTING MOTION TO
                                                        PROCEED IN FORMA PAUPERIS
13           v.
                                                        (ECF No. 2)
14    LUCY, et al.,
                                                        ORDER DIRECTING PAYMENT OF
15                       Defendants.                    INMATE FILING FEE BY RIO COSUMNES
                                                        CORRECTIONAL CENTER
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17          Plaintiff Donshea Lavon Ramsom (“Plaintiff”) is a county jail inmate proceeding pro se in

18   this civil rights action under 42 U.S.C. § 1983.

19          On May 31, 2024, Plaintiff initiated this action in the Sacramento Division of the United

20   States District Court for the Eastern District of California, together with a motion to proceed in

21   forma pauperis pursuant to 28 U.S.C. § 1915. (ECF Nos. 1, 2.) This action was transferred to the

22   Fresno Division on June 6, 2024. (ECF No. 4.)

23          Plaintiff has made the showing required by § 1915(a) and accordingly, the request to

24   proceed in forma pauperis will be granted. Plaintiff is obligated to pay the statutory filing fee of

25   $350.00 for this action. 28 U.S.C. § 1915(b)(1). Plaintiff is obligated to make monthly payments

26   in the amount of twenty percent (20%) of the preceding month’s income credited to Plaintiff’s

27   trust account. The Rio Cosumnes Correctional Center is required to send to the Clerk of the

28   Court payments from Plaintiff’s trust account each time the amount in the account exceeds
                                                        1
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 1   $10.00, until the statutory filing fee is paid in full. 28 U.S.C. § 1915(b)(2).

 2          Accordingly, IT IS HEREBY ORDERED that:

 3      1. Plaintiff's application to proceed in forma pauperis, (ECF No. 2), is GRANTED;

 4      2. The Warden/Sheriff of the Rio Cosumnes Correctional Center or his or her designee

 5          shall collect payments from Plaintiff’s prison trust account in an amount equal to

 6          twenty percent (20%) of the preceding month’s income credited to the prisoner’s

 7          trust account and shall forward those payments to the Clerk of the Court each time

 8          the amount in the account exceeds $10.00, in accordance with 28 U.S.C. § 1915(b)(2),

 9          until a total of $350.00 has been collected and forwarded to the Clerk of the Court.

10          The payments shall be clearly identified by the name and number assigned to this

11          action;

12      3. The Clerk of the Court is directed to serve a copy of this order and a copy of Plaintiff’s in

13          forma pauperis application on the Warden/Sheriff of the Rio Cosumnes Correctional

14          Center, via the United States Postal Service; and

15      4. The Clerk of the Court is directed to serve a copy of this order on the Financial

16          Department, U.S. District Court, Eastern District of California.

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     IT IS SO ORDERED.
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19      Dated:     June 6, 2024                                 /s/ Barbara A. McAuliffe            _
                                                         UNITED STATES MAGISTRATE JUDGE
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